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10 Attorneys for United States of America

11                                    UNITED STATES DISTRICT COURT

12                                  NORTHERN DISTRICT OF CALIFORNIA

13                                             SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                         )   CASE NO. 18-CR-00258 EJD
15                                                     )
             Plaintiff,                                )   DECLARATION OF JOHN BOSTIC IN
16                                                     )   OPPOSITION TO DEFENDANTS’ MOTION TO
        v.                                             )   COMPEL
17                                                     )
     ELIZABETH HOLMES and RAMESH                       )   Date: June 28, 2019
18   “SUNNY” BALWANI,                                  )   Time: 10:00 a.m.
                                                       )   Court: Hon Edward J. Davila
19           Defendants.                               )

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22           I, JOHN BOSTIC, declare as follows:

23           1.      I am an Assistant United States Attorney, representing the United States in the above-

24 captioned matter. I am admitted to practice before this Court. I hereby attest to the following facts.

25           2.      Attached hereto as Exhibit A is a true a correct copy of a May 9, 2019 letter sent by

26 government counsel to FDA in connection with this case.

27           3.      Attached hereto as Exhibit B is a true a correct copy of a May 9, 2019 letter sent by

28 government counsel to CMS in connection with this case.

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 1          4.      Attached hereto as Exhibit C is a true a correct copy of a June 7, 2019 letter received by

 2 government counsel from FDA in response to the document requests in Exhibit A.

 3          5.      Attached hereto as Exhibit D is a true a correct copy of a June 10, 2019 letter received by

 4 government counsel from CMS in response to the document requests in Exhibit B.

 5          6.      Attached hereto as Exhibit E is a true a correct copy of a June 3, 2019 Declaration from

 6 a representative of California Department of Public Health provided to the government along with

 7 CMS’s responsive letter, Exhibit D.

 8          7.      Attached hereto as Exhibit F is a true a correct copy of a June 11, 2019 letter from the

 9 Theranos assignee providing a waiver authorizing FDA and CMS to produce confidential Theranos

10 information in the SEC civil case.

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12 I declare under penalty of perjury under the laws of the United States that the foregoing is true and

13 correct to the best of my knowledge.

14          Executed this 12th day of June, 2019.

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                                                                 __/S/____________________
17                                                               JOHN C. BOSTIC
                                                                 Assistant United States Attorney
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     BOSTIC DECL. RE: MOTION TO COMPEL
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